                             IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF WISCONSIN

The Estate of DONTE’ DEVEL SHANNON,    )
ex. Rel. Personal Representative,      )                       No.     2:18-cv-194
VIVIAN JOHNSON,                        )
                                       )                       Judge J.P. Stadtmueller
                 Plaintiff,            )
                                       )
      v.                               )
                                       )                       DEMAND TRIAL BY JURY
The CITY OF RACINE, WISCONSIN,         )
RACINE POLICE OFFICER CHAD STILLMAN, )
and RACINE POLICE OFFICER PETER BOECK, )
                                       )
                 Defendants            )

                                   STIPULATION TO DISMISS

       IT IS HEREBY STIPULATED AND AGREED by and between the parties hereto ―

Plaintiff and Defendants, by all of their respective attorneys of record, all agree that this cause

should be dismissed without prejudice with no costs assessed to either party and each party to bear

their own attorneys’ fees.

Respectfully submitted,

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